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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA J S 6

CIVIL MINUTES — GENERAL

 

 

 

Case No. SACV 23-00184-FWS (DFMx) Date February 24, 2023
Title Kimberly D. Birdsong v. The Litigation Practice Group PC
PRESENT:

HONORABLE FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

Melissa H. Kunig Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present
PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
SETTLEMENT

The Court, having been notified by a Notice of Settlement [12] that the case settled,
hereby orders this action dismissed without prejudice. The Court hereby orders all proceedings
in the case vacated and taken off calendar.

The Court retains jurisdiction for sixty (60) days to vacate this order and to reopen the
action upon showing of good cause that the settlement has not been completed.

Any outstanding Orders to Show Cause are discharged.

 

Initials of Deputy Clerk mku

 

cc:

 

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